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                                                                                                                                 09/04/2019 05:20:45pm



 Fill in this information to identify your case:
 Debtor 1              Rafael                                     Pulido, Jr
                       First Name         Middle Name             Last Name

 Debtor 2            Felicia              Marie                   Pulido
 (Spouse, if filing) First Name           Middle Name             Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number           16-42573-ELM-7                                                                                           Check if this is an
 (if known)
                                                                                                                                amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                12/15

If you are an individual filing under chapter 7, you must fill out this form if:

     creditors have claims secured by your property, or

     you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:           List Your Creditors Who Hold Secured Claims

1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
      fill in the information below.

      Identify the creditor and the property that is collateral         What do you intend to do with the             Did you claim the property
                                                                        property that secures a debt?                 as exempt on Schedule C?

      Creditor's        Bank of America                                        Surrender the property.                    No
      name:                                                                    Retain the property and redeem it.         Yes
      Description of    4005 Alamo                                             Retain the property and enter into a
      property                                                                 Reaffirmation Agreement.
      securing debt:                                                           Retain the property and [explain]:


      Creditor's        Conns                                                  Surrender the property.                    No
      name:                                                                    Retain the property and redeem it.         Yes
      Description of    Furniture                                              Retain the property and enter into a
      property                                                                 Reaffirmation Agreement.
      securing debt:                                                           Retain the property and [explain]:


      Creditor's        Mansfield ISD                                          Surrender the property.                    No
      name:                                                                    Retain the property and redeem it.         Yes
      Description of    Homestead                                              Retain the property and enter into a
      property                                                                 Reaffirmation Agreement.
      securing debt:                                                           Retain the property and [explain]:




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Debtor 1     Rafael Pulido, Jr
Debtor 2     Felicia Marie Pulido                                                    Case number (if known)    16-42573-ELM-7

 Part 2:      List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

    Describe your unexpired personal property leases                                                          Will this lease be assumed?

    None.


 Part 3:      Sign Below

   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
   personal property that is subject to an unexpired lease.

X /s/ Rafael Pulido, Jr                               X /s/ Felicia Marie Pulido
   Rafael Pulido, Jr, Debtor 1                           Felicia Marie Pulido, Debtor 2

   Date 09/04/2019                                       Date 09/04/2019
        MM / DD / YYYY                                        MM / DD / YYYY




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